USCA4 Appeal: 19-4609            Doc: 18-1        Filed: 09/06/2019        Pg: 1 of 4         Total Pages:(1 of 5)


                                  UNITED STATES COURT OF APPEALS
                                      FOR THE FOURTH CIRCUIT
                                        OFFICE OF THE CLERK
                                             1100 East Main Street, Suite 501
                                             Richmond, Virginia 23219-3517
                                                 www.ca4.uscourts.gov
            Patricia S. Connor                                                           Telephone
                   Clerk                                                                804-916-2700


                                              September 6, 2019
                                        ___________________________

                                 TRANSCRIPT ORDER ACKNOWLEDGMENT
                                      ___________________________


        No. 19-4609,         US v. Tredarius Keene
                             4:18-cr-00012-MFU-RSB-3
                             4:18-cr-00012-MFU-RSB-4
                             4:18-cr-00012-MFU-RSB-5
                             4:18-cr-00012-MFU-RSB-8

        This acknowledgment establishes a deadline for filing all transcript ordered from
        this court reporter, as follows:

        Court Reporter: Mary Butenschoen
        Current Deadline: 10/15/2019
        Proceedings: Pre-trial conference 6/7/19
        Ordering Party(ies): United States

        The above-referenced transcript has been ordered for use on appeal.

        Counsel may request the transcript in either electronic or paper form. In multi-
        defendant CJA cases, electronic or paper copies of necessary transcript prepared for
        one defendant must be provided to co-defendants by the court reporter, co-counsel,
        or the district court clerk. Payment for transcript copies is claimed on a CJA 24
        voucher and is limited to commercially competitive rates not to exceed $.15 per
        page. For assistance in obtaining electronic copies of the transcript, see Record
        Access for New Appellate Counsel or contact the Fourth Circuit appointments
        deputy, Lisa McFarland.




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        Seven days have been added to the court reporter deadlines to permit appropriate
        financial arrangements to be completed. If the district court has not yet acted on a
        request for transcript under the Criminal Justice Act, counsel should confirm that
        the CJA 24 application has been filed with the district court for approval by the
        judge.

        If the transcript order is deficient or the CJA 24 application is not approved within 7
        days of this acknowledgment, the court reporter must complete and file a
        Transcript Order Deficiency Notice with this court within 14 days of this
        acknowledgment. If the court reporter has grounds for an extension of time, a
        request for extension may be sought using the Transcript Extension Request
        form.

        This court is notified of the filing of the Appeal Transcript in the district court
        through the district court's CM/ECF system. If the transcript is not filed by the due
        date, a transcript sanction takes effect, as provided in the Guidelines for
        Preparation of Appellate Transcripts in the Fourth Circuit. If a transcript
        sanction is in effect, the court reporter must file a Certification of filing of
        transcript/sanctions form with this court at the time the transcript is filed with the
        district court, certifying that the appropriate sanction has been deducted from the
        transcript fee. Court forms are available for completion as links from this notice and
        at the court's web site, www.ca4.uscourts.gov.

        Ashley Brownlee, Deputy Clerk
        804-916-2704




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                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                        TRANSCRIPT ORDER DEFICIENCY NOTICE

        No.   19-4609,            US v. Tredarius Keene
                                  4:18-cr-00012-MFU-RSB-3,4:18-cr-00012-MFU-RSB-
                                  4,4:18-cr-00012-MFU-RSB-5, 4:18-cr-00012-MFU-
                                  RSB-8

        To permit confirmation of financial arrangements, including approval by the
        district court of the CJA 24 form, 7 days have been added to the period
        established by the transcript guidelines for filing of appellate transcript. If
        financial arrangements are not confirmed within 7 days or if there are other
        problems with the transcript order, the court reporter should, within 14 days
        of issuance of the transcript order acknowledgment, file a transcript order
        deficiency notice with the Court of Appeals identifying the problem. Copies of
        the deficiency notice will be sent via CM/ECF to the parties and the district
        court.

        []    Transcript has previously been filed with district court. (specify)
        []    Not all requests on CJA 24 application were granted by
              district court. (specify)
        []    Motion for transcript at government expense has not been granted
              (28 U.S.C. § 753(f)).
        []    Satisfactory financial arrangements have not been made. (specify)
        []    Transcript order is unclear. (specify)
        []    Other (specify):

        Relief Requested:             [ ] Rescission of filing deadline
                                      [ ] Extension of filing deadline to _______________
        Court Reporter:
        Signature:
        Date:




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USCA4 Appeal: 19-4609     Doc: 18-1      Filed: 09/06/2019   Pg: 4 of 4        Total Pages:(4 of 5)


                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                            TRANSCRIPT EXTENSION REQUEST

        No.    19-4609,           US v. Tredarius Keene
                                  4:18-cr-00012-MFU-RSB-3,4:18-cr-00012-MFU-RSB-
                                  4,4:18-cr-00012-MFU-RSB-5, 4:18-cr-00012-MFU-
                                  RSB-8

        If an extension of time is needed to complete the transcript, the court reporter
        may file a Transcript Extension Request with the Court of Appeals at least 10
        days in advance of the deadline, setting forth specific information in support of
        the request. Copies of the request shall be served on the parties to the case and
        the district court Reporter Coordinator. The granting of an extension also
        constitutes a waiver of sanctions through the date of the extension.

        Court Reporter: Mary Butenschoen
        Current Deadline: 10/15/2019
        Extension Requested to:

        As of this date, approximately pages have been completed and pages are
        yet to be transcribed. Justification is as follows:
           1. Outstanding District Court transcripts ordered within 90 days of this
               request: Any pending appellate transcripts will be taken into
               consideration in deciding this request.

           2. In-Court Time: (give total days/hours by month)

           3. Travel: (give hours spent traveling to and from Court by month)

           4. Other: (please provide information you would like the Court to consider
              when reviewing your request. Please be aware that this information will
              be posted on the public docket.)

        Signature:
        Date:




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USCA4 Appeal: 19-4609                   Doc:FOURTH
                                             17      Filed:
                                             18-2 CIRCUIT   09/05/2019
                                                       Filed:             Pg:
                                                              09/06/2019ORDER
                                                            TRANSCRIPT     Pg:1FORM
                                                                                of 11
                                                                                1 of                                         Total Pages:(5 of 5)

Case Style _________________________________________________________________________________________________
            U.S. v. DeShawn Anthony, et al
               4:18-CR-00012
Dist. Ct. No. _________________________              Western District of Virginia
                                           District ________________________________________________________________
Date Notice of Appeal filed ___________________
                                  08/21/19                               19-4609
                                                   Court of Appeals No.________________________________________________
                                                                             Mary J. Butenschoen, RPR, CRR, Brimer, Inc.,
Name of Court Reporter/Electronic Rec. (use separate form for each reporter)_____________________________________________
Address of Reporter__________________________________________________________________________________________
                     5383 Canter Drive, Roanoke, VA 24018

 Appellant must order any necessary transcript within 14 days of noting the appeal by completing a separate transcript order form for each reporter,
 submitting the orders to the court reporters and the district court, and attaching copies to the docketing statement filed in the court of appeals. The
 transcript order form should not include requests for transcripts that are on file or are on order. The completed order form must show that necessary
 financial arrangements have been made. In CJA cases, counsel must certify that AUTH-24 requests have been submitted through the district
 court's eVoucher system for approval by the district judge. Once the transcript has been prepared, counsel also submits the CJA-24 voucher for
 payment in the district eVoucher system. For assistance, see District eVoucher Contacts for Transcript Authorization and Payment.

In sentencing appeals, a transcript of the sentencing hearing must be ordered. In Anders appeals, plea (or trial) and sentencing transcript must be
ordered, along with any necessary hearing transcripts (e.g., suppression hearings). In multi-defendant cases involving CJA defendants, only one
original trial transcript should be purchased from the court reporter on behalf of CJA defendants, and copies should thereafter be made at
commercially competitive rates not to exceed $.15 per page. Co-defendants may obtain paper or electronic copies of prepared transcript from the
court reporter, co-counsel, or the district court.

If appellee finds other parts of the proceedings necessary, appellee must designate the additional parts within 14 days after service of the transcript
order. If appellant has not ordered the additional parts within 14 days, appellee may, within the following 14 days, order the additional parts or move
in the district court for an order requiring appellant to do so.

Counsel must review transcript and notify the district court of any intention to direct redaction of personal data identifiers within 7 days of filing of
the transcript, and thereafter submit a statement of redactions to the court reporter within 21 days of filing of the transcript, as required by the
Judicial Conference Policy on Privacy and Public Access to Electronic Case Files. Counsel should obtain full-size transcript from the court reporter,
since condensed transcript may not be used in the appendix. Counsel should verify that the witness name and type of examination appear in the top
margin of each page of testimony, as required for inclusion in the appendix on appeal. Local Rule 30(b).

A. This constitutes an order of the transcript of the following proceedings. Check appropriate box(es), provide date of hearing, and indicate total
   number of estimated pages. Specific CJA authorization is required for opening and closing statements, voir dire, and instructions.

        PROCEEDING                                        HEARING DATE(S)
     G Voir Dire                         ______________________________________________________
     G Opening Statement (Plaintiff)     ______________________________________________________
     G Opening Statement (Defendant)     ______________________________________________________
     G Closing Argument (Plaintiff)      ______________________________________________________
     G Closing Argument (Defendant)      ______________________________________________________
     G Opinion of Court                  ______________________________________________________
     G Jury Instructions                 ______________________________________________________
     G Sentencing                        ______________________________________________________
     G Bail Hearing                      ______________________________________________________
     G
     ✔ Pre-Trial Proceedings (specify)   June 7, 2019- Pre-Trial Conference
                                         ______________________________________________________
     G Testimony (specify)               ______________________________________________________
     G Other (specify)                   ______________________________________________________
     TOTAL ESTIMATED PAGES ____________135

B. I certify that I have contacted the court reporter (or court reporter coordinator if electronic recording) and satisfactory financial arrangements for
   payment of the transcript have been made as follows:
   G Private funds. (Deposit of $________ enclosed with court reporter's copy. Check No. __________.)
   G CJA AUTH-24 request submitted in district eVoucher system.
   G Government expense (civil case--IFP). Motion for transcript at government expense is pending with district judge.
   G
   ✔    Advance payment waived by court reporter. Payment in full is due upon receipt of transcript.
   G Federal Public Defender - no CJA 24 authorization necessary.
   G United States appeal.

C.   Transcript is requested in G     paper format        G
                                                          ✔ electronic format

          /s/ Michael A. Baudinet
Signature _________________________________________       Typed Name____________________________________
                                                                      Michael A. Baudinet
Address__________________________________________________________________________________________
         U.S. Attorney's Office 310 First Street, SW, Room 900, Roanoke, VA 24011
Email ____________________________________________
      Michael.Baudinet@usdoj.gov                                         (540) 857-2250
                                                          Telephone No. ____________________________________
Date Sent to Reporter_________________________________
                      09/04/19




03/04/2019Case
          CAD     4:18-cr-00012-MFU-RSB Document 427 Filed 09/06/19 Page 5 of 5 Pageid#: 2410
